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GARY L. RAINSDON, TRUSTEE
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                              UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF IDAHO

In Re:
                                      )        CHAPTER 7
Johnathon Peirsol,                    )
                                      )        CASE NO. 19-40782-JDP
                      Debtor.         )

                                   REPORT OF SALE BY TRUSTEE

       The Trustee has sold the following property of the estate and pursuant to Bankruptcy Rule
6004(f)(1) makes this report of sale.

1. DESCRIPTION OF PROPERTY SOLD:

         Common Address: 50 North Ash St, Blackfoot, ID 83221

         Legal Description: LOT 16 BLOCK 32 OF THE LEWIS AND DANIELSON ADDITION
                            TO THE CITY OF BLACKFOOT, BINGHAM COUNTY, IDAHO, AS
                            SHOWN ON THE OFFICIAL PLAT THEREOF.

2. NAME OF BUYER: Lucky Clover, LLC

3. ACCOUNTING OF SALE PROCEEDS:

               Total Sale Price                                             105,000.00
               County Taxes 2020 to 2021                                    ( 4,132.70)
               Closing Costs                                                ( 914.25)
               Real Estate Commission                                       ( 6,300.00)

               Net Proceeds to Estate                                       $ 93,653.05*

*The net proceeds from the sale of real property are currently being held in trust, pending calculation
and payment of capital gains taxes. Trustee and judgement creditor have agreement to split the
remaining net proceeds of the sale 80% to the creditor, and 20% to this bankruptcy estate, see Docket
No. 160.

Dated:         December 21, 2021
                                                            /s/
                                                          Gary L. Rainsdon, Trustee
